
OPINION OF THE COURT
Memorandum.
Order of the Appellate Division affirmed, with costs in all courts. The village as a municipal body enacting laws or adopting ordinances or resolutions with respect to its public responsibilities may act only in furtherance of a public purpose. Despite a meticulous and byzantine delineation of resolutions, map changes, and transfers and retransfers of title over a 40-year period centered on a three-foot strip of land purportedly detached from a public street, no plausible public purpose is made apparent or even argued to be served. By the erection of a stone barrier in 1975 on this three-foot strip plaintiffs are purposelessly denied access from their residence to the abutting public street. Neither the law nor the courts may or should be used to serve such an act. When no public purpose is perceived to be served, an owner may not be denied access to a public street (see Regan v Lanze, 40 NY2d 475, 482-483; 10 McQuillin, Municipal Corporations [3d ed, 1966 rev vol], § 30.54; cf. Farrell v Rose, 253 NY 73, 76).
Chief Judge Breitel and Judges Jasen, Gabrielli, Jones, Wachtler, Fuchsberg and Cooke concur in memorandum.
Order affirmed, etc.
